XAO 245D (WDNC Rev. 4/04) Judgm ent in a Crim inal Case for Revocation



                                      UNITED STATES DISTRICT COURT
                               FOR THE WESTERN DISTRICT OF NORTH CAROLINA

UNITED STATES OF AMERICA                                                    JUDGMENT IN A CRIMINAL CASE
                                                                            (For Revocation of Probation or Supervised Release)
         V.                                                                 (For Offenses Committed On or After November 1, 1987)



RONNIE JOE PATTERSON                                                        Case Number: DNCW305CR000084-002
                                                                            USM Number:

                                                                            Rahwa Gebre-Egziabher
                                                                            Defendant’s Attorney



THE DEFENDANT:

X        admitted guilt to violation of condition(s) 2 of the term of supervision.
X        was found in violation of condition(s) count(s) 1 after denial of guilt.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following violations(s):



                                                                                                    Date Violation
 Violation Number                  Nature of Violation                                              Concluded

 1                                 New law violation                                                9/6/07

 2                                 Failure to make required court payments                          12/20/07



         The Defendant is sentenced as provided in pages 2 through 5 of this judgment. The sentence is imposed pursuant
to the Sentencing Reform Act of 1984, United States v. Booker, 125 S.Ct. 738 (2005), and 18 U.S.C. § 3553(a).

         The Defendant has not violated condition(s)             And is discharged as such to such violation(s) condition.

        IT IS ORDERED that the Defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay monetary penalties, the defendant shall notify the court and United States attorney
of any material change in the defendant’s economic circumstances.



                                                                            Date of Imposition of Sentence: 4/7/08




                                                                                Signed: April 17, 2008


                 Case 3:05-cr-00084-RJC-CH                     Document 57           Filed 04/17/08          Page 1 of 6
AO 245D (WDNC Rev. 4/04) Judgm ent in a Crim inal Case for Revocation




Defendant: RONNIE JOE PATTERSON                                                                                Judgment-Page 2 of 5
Case Number: DNCW305CR000084-002

                                                                IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
term of FIFTEEN (15) MONTHS.




 X       The Court makes the following recommendations to the Bureau of Prisons:

         Support dependents from prison earnings.
         Participation in Inmate Financial Responsibility Program.

 X       The Defendant is remanded to the custody of the United States Marshal.

         The Defendant shall surrender to the United States Marshal for this District:

                             As notified by the United States Marshal.

                             At___a.m. / p.m. on ___.

         The Defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

                             As notified by the United States Marshal.

                             Before 2 p.m. on ___.

                             As notified by the Probation Office.

                                                                    RETURN

         I have executed this Judgment as follows:




       Defendant delivered on __________ to _______________________________________ at
________________________________________, with a certified copy of this Judgment.



                                                          ___________________________________________
                                                          United States Marshal



                                                By:       _______________________________________
                                                          Deputy Marshal



                 Case 3:05-cr-00084-RJC-CH                      Document 57       Filed 04/17/08         Page 2 of 6
AO 245D (WDNC Rev. 4/04) Judgm ent in a Crim inal Case for Revocation



Defendant: RONNIE JOE PATTERSON                                                                                                        Judgment-Page 3 of 5
Case Number: DNCW305CR000084-002

                                                                  SUPERVISED RELEASE

         Upon release from imprisonment, the defendant shall be on supervised release for a term of TWO (2) YEARS.

         The condition for mandatory drug testing is suspended based on the court’s determination that the defendant poses
         a low risk of future substance abuse.

                                                     STANDARD CONDITIONS OF SUPERVISION

         T he defendant shall com ply with the standard conditions that have been adopted by this court and any additional conditions ordered.


1.       T he defendant shall not com m it another federal, state, or local crim e.
2.       T he defendant shall refrain from possessing a fi rearm , destructi ve device, or other dangerous weapon.
3.       T he defendant shall pay any financial obligation im posed by this judgm ent rem aining unpaid as of the com m encem ent of the sentence of
         probation or the term of supervised release on a schedule to be established by the court.
4.       T he defendant shall provide access to any personal or business financial inform ation as requested by the probation officer.
5.       T he defendant shall not acquire any new lines of credit unless authorized to do so in advance by the probation officer.
6.       T he defendant shall not leave the Western District of North Carolina without the perm ission of the Court or probation officer.
7.       T he defendant shall report in person to the probation officer as directed by the Court or probation officer and shall subm it a truthful and
         com plete written report within the first five days of each m onth.
8.       A defendant on supervised release shall report in person to the probation officer in the district to which he or she is released within 72
         hours of release from custody of the Bureau of Prisons.
9.       T he defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer.
10.      T he defendant shall support his or her dependents and m eet other fam ily responsibilities.
11.      T he defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training, or other activities
         authorized by the probation officer.
12.      T he defendant shall notify the probation officer within 72 hours of any change in residence or em ploym ent.
13.      T he defendant shall refrain from excessive use of alcohol and shall not unlawfully purchase, possess, use, distribute or adm inister any
         narcotic or other controlled substance, or any paraphernalia related to such substances, except as duly prescribed by a licensed
         physician.
14.      T he defendant shall participate in a program of testing and treatm ent or both for substance abuse if directed to do so by the probation
         officer, until such tim e as the defendant is released from the program by the probation officer; provided, however, that defendant shall
         subm it to a drug test within 15 days of release on probation or supervised release and at least two periodic drug tests thereafter for use
         of any controlled substance, subject to the provisions of 18:3563(a)(5) or 18:3583(d), respecti vely.
15.      T he defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or adm inistered.
16.      T he defendant shall not associate with any persons engaged in crim inal activity, and shall not associate with any person convicted of a
         felony unless granted perm ission to do so by the probation officer.
17.      T he defendant shall subm it his person, residence, offi ce or vehicle to a search, from ti m e to ti m e, conducted by any U.S. Probati on Offi cer
         and such other law enforcem ent personnel as the probati on officer m ay deem advisable, without a warrant; a nd failure to subm it to such a
         search m ay be grounds for revocation of probation or supervised release. T he defendant shall warn other residents or occupants that
         such prem ises or vehicle m ay be subject to searches pursuant to this condition.
18.      T he defendant shall perm it a probation officer to visit him or her at any tim e at hom e or elsewhere and shall perm it confiscation of any
         contraband observed by the probation officer.
19.      T he defendant shall notify the probation officer within 72 hours of defendant’s being arrested or questioned by a law enforcem ent officer.
20.      T he defendant shall not enter into any agreem ent to act as an inform er or a special agent of a law enforcem ent agency without the
         perm ission of the Court.
21.      As directed by the probation officer, the defendant shall notify third parties of risks that m ay be occasioned by the defendant’s crim inal
         record or personal history or characteristics, and shall perm it the probation officer to m ake such notifications and to confirm the
         defendant’s com pliance with such notification requirem ent.
22.      If the instant offense was com m itted on or after 4/24/96, the defendant shall notify the probation officer of any m aterial changes in
         defendant’s econom ic circum stances which m ay affe ct th e defendant’s ability to pay any m onetary penalty.
23.      If hom e confinem ent (hom e detention, hom e incarceration or curfew) is included you m ay be required to pay all or part of the cost of the
         electronic m onitoring or other location verification system program based upon your ability to pay as determ ined by the probation officer.
24.      T he defendant shall cooperate in the collection of DNA as directed by the probation officer.


ADDITIONAL CONDITIONS:




                 Case 3:05-cr-00084-RJC-CH                           Document 57               Filed 04/17/08              Page 3 of 6
AO 245D (WDNC Rev. 4/04) Judgm ent in a Crim inal Case for Revocation


Defendant: RONNIE JOE PATTERSON                                                                                             Judgment-Page 4 of 5
Case Number: DNCW305CR000084-002

                                                      CRIMINAL MONETARY PENALTIES

The defendant shall pay the following total criminal monetary penalties in accordance with the Schedule of Payments.


                ASSESSMENT                                              FINE                                      RESTITUTION

                   $100.00                                              $0.00                                      $31,621.00
                                                                                                    ***Total outstanding balance of Restitution due and
                                                                                                                    remains in effect***




                                                                        FINE



          The defendant shall pay interest on any fine or restitution of more than $2,500.00, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on
the Schedule of Payments may be subject to penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

X                  The court has determined that the defendant does not have the ability to pay interest and it is ordered that:

X                  The interest requirement is waived.

X                  The interest requirement is modified as follows:



                                                     COURT APPOINTED COUNSEL FEES

                   The defendant shall pay court appointed counsel fees.

                   The defendant shall pay $                towards court appointed fees.




                 Case 3:05-cr-00084-RJC-CH                      Document 57          Filed 04/17/08               Page 4 of 6
AO 245D (WDNC Rev. 4/04) Judgm ent in a Crim inal Case for Revocation


Defendant: RONNIE JOE PATTERSON                                                                                  Judgment-Page 4a of 5
Case Number: DNCW305CR000084-002


                                                     RESTITUTION PAYEES

The defendant shall make restitution to the following payees in the amounts listed below:


 NAME OF PAYEE                                                          AMOUNT OF RESTITUTION ORDERED
 Larry Crooks                                                           $3,000.00

 Hurst Jaws of Life                                                     $18,621.00

 Specialty Rescue                                                       $10,000.00




X        The defendant is jointly and severally liable with co-defendants for the total amount of restitution.

X        Any payment not in full shall be divided proportionately among victims.




                 Case 3:05-cr-00084-RJC-CH                          Document 57          Filed 04/17/08          Page 5 of 6
AO 245D (WDNC Rev. 4/04) Judgm ent in a Crim inal Case for Revocation


Defendant: RONNIE JOE PATTERSON                                                                                        Judgment-Page 5 of 5
Case Number: DNCW305CR000084-002



                                                            SCHEDULE OF PAYMENTS



Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties shall be due as follows:

         A                   Lump sum payment of $                due immediately, balance due

                             not later than          , or
                             in accordance         (C),       (D) below; or

         B          X        Payment to begin immediately (may be combined with             (C),      (D) below); or

         C                   Payment in equal              (e.g. weekly, monthly, quarterly) installments of $          to
                             commence               (e.g. 30 or 60 days) after the date of this judgment; or

         D          X        Payment in equal monthly (e.g. weekly, monthly, quarterly) installments of $ 300      to
                             commence 60            (e.g. 30 or 60 days) after release from imprisonment to a term of
                             supervision. In the event the entire amount of criminal monetary penalties imposed is not paid
                             prior to the commencement of supervision, the U.S. Probation Officer shall pursue collection of the
                             amount due, and may request the court to establish or modify a payment schedule if appropriate 18
                             U.S.C. § 3572.



Special instructions regarding the payment of criminal monetary penalties:

         The defendant shall pay the cost of prosecution.
         The defendant shall pay the following court costs:
         The defendant shall forfeit the defendant’s interest in the following property to the United States:



Unless the court has expressly ordered otherwise in the special instructions above, if this judgment imposes a period of
imprisonment payment of criminal monetary penalties shall be due during the period of imprisonment. All criminal monetary
penalty payments are to be made to the United States District Court Clerk, 401 West Trade Street, Room 210, Charlotte,
NC 28202, except those payments made through the Bureau of Prisons’ Inmate Financial Responsibility Program. All
criminal monetary penalty payments are to be made as directed by the court.




Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine
principal, (5) community restitution, (6) fine interest, (7) penalties, and (8) costs, including cost of prosecution and court
costs.




                 Case 3:05-cr-00084-RJC-CH                          Document 57            Filed 04/17/08              Page 6 of 6
